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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                 :
     Plaintiff                           :
                                         :      CRIMINAL ACTION NO.
v.                                       :      3-05-CR-00320 (JCH)
                                         :
SELEANA BEMBER                           :      JANUARY 16, 2007
     Defendant                           :


                                         ORDER

      The defendant, Seleana Bember, is ordered remanded to the custody of the U.S.

Marshall’s Service today at Bridgeport, Connecticut. By presenting herself to the U.S.

Marshall’s today, the defendant has satisfied the court in surrendering for service of her

sentence.

SO ORDERED.

      Dated at Bridgeport, Connecticut, this 16th day of January, 2007.



                                          /s/ Janet C. Hall
                                         Janet C. Hall
                                         United States District Judge
